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lV|arch 7, 2019

Via e-mail

Eric Rosen, Esq.

Assistant United States Attorney
District of Nlassachusetts
Boston, Massachusetts

Re: Um'ted States ofAme 'ca v. William Ric Sin er 19cr10078-RWZ

 

Dear Eric:

This letter confirms that | have no objection to the correction of the typographical
error on page 2 of the filed plea agreement correcting the obstruction count as count
four and the tax count as count three as enumerated in the |nformation filed in the case
above noted. Thank you for bringing this to my attention.

Very truly yours,

DONALD H. HELLER
A Law Corporation

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DONALD H. HE[_LER
DHH/lh

cc: Rick Singer by e-mail

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